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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


ARCHER AND WHITE SALES, INC.

            Plaintiff,                        Civil Action No. 2:12-CV-00572-
                                              JRG
      v.

HENRY SCHEIN, INC., DANAHER
CORPORATION, INSTRUMENTARIUM                  FILED UNDER SEAL
DENTAL, INC., DENTAL EQUIPMENT,
LLC, KAVO DENTAL TECHNOLOGIES,
LLC, DENTAL IMAGING
TECHNOLOGIES CORPORATION,
PATTERSON COMPANIES, INC., AND
BENCO DENTAL SUPPLY CO.

            Defendants.


        PLAINTIFF ARCHER AND WHITE SALES, INC.’S OPPOSITION TO
                DEFENDANT HENRY SCHEIN, INC.’S MOTION
        TO DISMISS THE SECOND AMENDED COMPLAINT (DKT. NO. 288)
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       Plaintiff Archer and White Sales, Inc. (“Archer”) files this response in opposition to the

motion to dismiss filed by Defendant Henry Schein, Inc. (“Schein”) (Dkt. No. 288).

                                      INTRODUCTION

       Archer is a Texas-based, family-owned, discount distributor of dental equipment. For

years, Archer successfully sold dental equipment for the Danaher Defendants,1 including the

Gendex, KaVo, Pelton & Crane, Marus, DCI, and Instrumentarium lines. Danaher Corporation

acquired these lines over time and they are now wholly owned and controlled by Danaher

Corporation. When Archer sought to expand its sales outside of Texas in 2007, Schein and its

fellow distributors Patterson Companies, Inc. (“Patterson”), Benco Dental Supply, Co.

(“Benco”), and Burkhart Dental Supply (“Burkhart”) (collectively, the “Cartel Members”)

conspired to force their common suppliers, including the Danaher Defendants, to restrict

Archer’s sales to Texas, and eventually to terminate Archer’s distributorships altogether. As

reflected by Defendants’ numerous admissions detailed in the Second Amended Complaint, the

purpose of the conspiracy to boycott Archer was to protect an unlawful attempt by the Cartel

Members to restrict the competitive options available to customers in an attempt to fix, maintain,

and stabilize the gross margins at which the dominant distributors sell dental equipment and

supplies.

       Schein asserts that Archer has failed to allege the necessary facts to plead causes of

action under federal and state antitrust laws. But its arguments are misplaced, primarily because

Schein follows the well-trodden path of its co-defendants in attempting to break the conspiracy

into smaller parts and then to explain away each piece. In arguing that the Second Amended


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 Danaher Corporation and its wholly owned subsidiaries, Instrumentarium Dental, Inc., Dental
Equipment LLC, KaVo Dental Technologies, LLC, and Dental Imaging Technologies
Corporation.

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Complaint does not sufficiently allege an agreement to violate the antitrust laws, Schein ignores

direct evidence of the Cartel Members’ agreement to maintain supracompetitive margins and to

protect that agreement via boycotts. It also ignores all of Archer’s circumstantial evidence,

including the suspect timing of Schein’s supposedly independent complaints to manufacturers,

agreements to boycott other low-margin competitors, and the pretextual nature of the Danaher

Defendants’ justifications for Archer’s termination. Assessed in that context, the Second

Amended Complaint contains sufficient allegations of Schein’s involvement in an agreement to

violate the antitrust laws. Schein also persists in arguing that Archer does not have standing to

bring a price-fixing claim, but in doing so, it misreads Archer’s claims; the Second Amended

Complaint does not allege a standalone price-fixing conspiracy, but rather alleges a group

boycott conspiracy that was motivated by and served as an enforcement mechanism for the

Cartel Members’ attempts to limit options to customers and to fix, maintain, and stabilize

margins. Archer undoubtedly has standing to bring a suit stemming from its exclusion from the

market, an obvious antitrust injury.

        For the reasons stated above and explained in detail below, Schein’s motion to dismiss

should be denied. The arguments apply equally to Archer’s claims under the Sherman Act and

the Texas Free Enterprise and Antitrust Act. See TEX. BUS. & COM. CODE § 15.04 (“The

provisions of this Act ... shall be construed in harmony with federal interpretations of

comparable federal antitrust statutes....”).

                             COUNTERSTATEMENT OF ISSUES

        1. Whether the Second Amended Complaint—which contains detailed allegations of
           concerted action and agreement among Schein, the other Cartel Members, and their
           common suppliers, the Danaher Defendants, to fix margins and protect their
           supracompetitive pricing by boycotting discounters—states a claim against Schein.




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       2. Whether the Second Amended Complaint, which alleges that the defendants
          conspired to boycott Archer, thus blocking Archer from competing, alleges antitrust
          injury sufficient to confer standing on Archer.

                                      BACKGROUND

       As explained in the Second Amended Complaint, Archer was founded in 1983 by

James Archer, Sr., and has earned a reputation among its customers—primarily dentists—for

low prices and high-quality service. Compl. ¶¶ 24, 34. Archer was an authorized distributor for

Defendants Dental Imaging Technologies (d/b/a Gendex), KaVo, Dental Equipment LLC (Pelton

& Crane, Marus, and DCI equipment lines), and Instrumentarium. Id. ¶¶ 25, 76.

       Beginning in 2004, Defendant Danaher Corporation embarked on a consolidation

strategy whereby it acquired many of the dental equipment companies whose equipment Archer

distributed. Id. ¶ 25. This consolidation strategy resulted in Danaher Corporation becoming the

largest manufacturer of dental equipment in the industry. Id. Moreover, because Danaher

Corporation gained control over a substantial portion of the dental equipment manufacturing

industry, doing business with it became essential to the success of dental equipment

distributors such as Archer. Id.

       About the same time as Danaher Corporation began consolidating the dental equipment

manufacturing industry, Archer sought to expand its business and increase its sales in Oklahoma

and Northwest Arkansas by partnering with another independent distributor, Dynamic Dental

Solutions, Inc. (“Dynamic”), as Archer’s sales representative. Id. ¶ 43. Dynamic practiced the

same high-quality service, low-price philosophy as Archer employed. Id. ¶ 46. As a result,

Dynamic’s sales grew significantly within only a few years, reaching almost a million dollars

annually for the Pelton & Crane line alone. Id. Archer also sold a significant volume of

equipment in Oklahoma and Northwest Arkansas independently of its relationship with

Dynamic. Id. ¶ 43. In addition to its success in Oklahoma and Northwest Arkansas, Archer

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started to grow nationally when Instrumentarium appointed Archer as its first hybrid, national

distributor of dental imaging equipment in 2007. Id. ¶ 84. A hybrid distributor is one that sells

nationally from a single location with no geographic restrictions. Id. Archer grew its sales of

Instrumentarium equipment by 90 percent in each of the two years following its appointment as a

national distributor. Id. ¶ 85.

       Archer’s and Dynamic’s success, along with their low prices, began to attract the

attention of competing dental equipment distributors Schein, Patterson, Benco, and Burkhart. Id.

¶¶ 46, 86. Unbeknownst to Archer, while it was growing sales in Oklahoma and Northwest

Arkansas, the Cartel Members—who make up over 80 percent of the distribution of dental

equipment and supplies in the United States, id. ¶ 18—had already established a “trust”

relationship by which they agreed that they would not compete on price for a customer known

to already be in discussions with another Cartel Member. Id. ¶ 58. Rather than have Archer

and Dynamic’s low-price strategy upset that relationship—and the resulting high profit

margins—the Cartel Members explained to Archer and Dynamic that they would be accepted

into the industry only if they maintained the same high margins. Id. ¶¶ 55, 71.

       In meetings discussing the scope of the agreement, the Cartel Members explained to

Dynamic’s Skip Pettus that they want to be “on the same playing field” as their competitors. Id.

¶¶ 59-60. Schein’s Mark Lowery explained that all of the Cartel Members “have the ability to

drop our drawers,” but that they “all want to make a living” so “we all ... all are going to sell it at

a ... at a good price where we all get paid.” Id. ¶ 61. As Lowery put it, the objective of the

scheme is to ensure that dentists “get[] [dental products] for the same price no matter who they

buy it from” so that “we all get paid.” Id. ¶ 35. He further acknowledged that the conspiracy

extended across the industry, explaining that “if [Dynamic] isn’t selling it, [Burkhart’s] Jack’s



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going to be selling it. If he isn’t going to be selling it, Patterson is going to be selling it.” Id. ¶ 67.

Lowery admitted that the price-fixing conspiracy had been implemented “unanimously across

the industry [for] as long as [he had] been in the dental business.” Id. Lowery boasted that he

could quote a price “with confidence” and tell the customer to go ahead and price check him

with the competition because he secretly knows that his competitors will not offer a lower price.

Id. ¶ 72.

           Archer also learned that the Cartel Members enforce and protect their efforts to maintain

high margins through dental product manufacturers. The Cartel Members procure the

manufacturers’ agreement to terminate or restrict the sales territories of competing, discount

distributors by threatening to quit buying the manufacturers’ products. Id. ¶ 70. Because the

Cartel Members make up over 80 percent of the dental distribution market, id. ¶ 18, their

collective refusal to buy from a manufacturer would devastate that manufacturer’s sales and

profits.

           As detailed in the Second Amended Complaint, there is extensive evidence of the

Defendants carrying out this plan and Schein specifically doing its part. For example, in January

2008, Schein manager Lowery threatened Pelton & Crane representative Don Givens, telling him

that Schein would stop selling Pelton & Crane equipment unless Pelton & Crane stopped doing

business with Archer and Dynamic. Id. ¶ 50. That same month, Burkhart’s manager Powers

made the same threat to Givens. Id. ¶ 51.

           The Danaher Defendants responded to the threats by acceding to the Cartel Members’

demands and joining the conspiracy, thereby cutting Archer off from the supply of dental

equipment that it needed to compete effectively. In furtherance of the conspiracy, Dan Bump met

with Schein and Burkhart in January 2008 and agreed that Dynamic would be banned from



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 selling not only Pelton & Crane equipment, but also Marus and DCI equipment. Furthermore,

 they agreed that Archer’s territory would be restricted to Texas. Id. ¶ 53. In exchange, Schein

 and Burkhart promised to “make up” the sales that Danaher would lose as the result of its actions

 with respect to Archer and Dynamic. Id. Schein announced the news to its employees on

 February 25, 2008—over a week before Dynamic and Archer received the news from Danaher.

 Id. ¶ 54.

         The territory restrictions quickly expanded to other manufacturers. For example, in

 December 2008, Instrumentarium prohibited Archer from selling equipment to a Wisconsin

 dentist because it was “Schein’s backyard and Schein is raising hell about your current pricing.”

 Id. ¶ 87.



                                 Id. ¶ 90. Schein, Patterson, and Benco continued making similar

 complaints regarding other potential Archer sales. See id. ¶¶ 87, 90.

         Eventually, Schein told Instrumentarium that it would not sell Instrumentarium

 equipment unless Instrumentarium terminated Archer’s nationwide distribution rights, nor would

 Schein let Instrumentarium representatives step foot in a Schein showroom until that happened.

 Id. ¶¶ 86, 95.

                                                                          Id. ¶ 88. In April 2009,

 Instrumentarium revoked Archer’s nationwide distributor status and limited Archer to sales only

 in Texas because of “the integrity of its end-user pricing.” Id. ¶ 96.



                                                                                         Id. ¶ 92.




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                                                                                                Id. ¶

 94. Mike Null, the Instrumentarium representative who sent the letter restricting Archer’s

 territory, later told Archer that the pressure from Patterson, Schein, and others was so great that

 he had been forced to email a copy of his restriction letter to them to prove that he had acted

 upon their demands. Id. ¶ 96.

        Similarly, KaVo refused to allow Archer nationwide distribution rights (which Archer

 had held previously) because it “could not figure out a way to protect the margins demanded by

 ‘other dealers.’” Id. ¶ 100. And Gendex rejected Archer’s multiple attempts to become a

 distributor because, as Gendex told a Pelton & Crane representative, opening Archer would

 cause him to lose all of his other business around town given the “pressure from other dealers.”

 Id. ¶¶ 101-03. Archer also previously distributed Danaher’s Kerr line of consumables, but was

 terminated from that line as well. Id. ¶ 32.

        But the territory restrictions were not enough to satisfy the Cartel Members.




                    Id. ¶ 105.



                                                                                    2
                                                                                        Id. ¶ 106.




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                                               Id.



                            Id.




                                                                                              Id. ¶

 114. A Schein representative relayed the threat directly to Jim Archer Jr., stating that Archer

 “needed to ‘get the price up on Nomads or it won’t matter soon.’” Id.




                                            Id. ¶¶ 110-11.



                                                                                      Id. ¶ 111.




                                                                                      Id. ¶ 112.



                                                                                        Id.



          Id. ¶ 113.

        As promised, in 2014, the Danaher Defendants terminated Archer’s distributorship

 agreements—along with the agreements of a number of other independent, low-margin

 distributors. Id. ¶ 117.



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                                                  Id. ¶¶ 118-19.



               Id. ¶ 118.




           Id. ¶¶ 118-19.

                                                  Id. ¶ 118.



                                                      Id. ¶ 119.

        The complaints extended to other manufacturers. When Archer asked for access to

 Midmark’s entire equipment line in 2001 and regularly thereafter, Midmark refused because, as

 Midmark’s Mike Hall explained, if he allowed Archer to sell Midmark’s entire line, Schein,

 Patterson, and Island Dental (another distributor, later acquired by Schein) would “cut him off”

 (i.e., stop selling Midmark products). See id. ¶ 126.

        In or around 2005, Schein, Patterson, and Burkhart pressured SciCan (another

 manufacturer) to not open its equipment line to Dynamic Dental. These complaints led SciCan

 on several occasions to warn Archer to stop “stealing” Schein and Patterson customers and that

 Schein and Patterson had threatened to stop selling SciCan products if SciCan did not terminate

 Archer. Id. ¶ 135. In 2011, SciCan terminated Archer’s distribution agreement. Id.




                                                                                     Id.




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        In December 2006, manufacturer Acteon terminated Archer’s distribution agreement

 because Archer’s pricing was “below the industry average in respect to gross margin.” Id. ¶ 140.

 Acteon’s representative explained to Archer that Schein and Patterson had complained to Acteon

 about losing sales to Archer. Id. In May 2008, manufacturer Vivadent terminated Archer’s

 distribution agreement. A Vivadent representative later explained that Archer was terminated

 because it was taking too many orders from Schein and Patterson, who did not want to compete

 with Archer’s prices. Id. ¶ 134.

        Around 2009 or 2010, manufacturer Digi Doc refused to allow Archer to distribute its

 products because of too many complaints from Schein, Patterson, and Benco. Id. ¶ 141. In 2011,

 according to a former NSK employee, manufacturer NSK refused to re-authorize Archer’s

 distribution agreement due to pressure from each of the Cartel Members, including Schein. Id. ¶

 138.

        Schein’s efforts, in conjunction with the other Cartel Members, to keep low-margin

 competitors out of the market extended to the consumables segment.



                                                                            . Id. ¶ 144.




                                                                                Id. Additionally,

 when state dental associations partnered with low-price distributors to offer their members low

 prices, Schein joined with Patterson, Benco, and several manufacturers to boycott those state

 associations’ annual meetings. Id. ¶ 148.



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        On August 31, 2012, Archer filed this lawsuit for damages and injunctive relief against

 Schein and the Danaher Defendants for violations of Section 1 of the Sherman Act and the Texas

 Free Enterprise and Antitrust Act. All Defendants then filed Motions to Compel Arbitration. Dkt.

 Nos. 10, 14. The Magistrate Judge granted the motions and stayed all proceedings in the case

 pending arbitration. Dkt. No. 44. Archer objected to the Magistrate’s Order, but the stay

 remained in place for the next three-and-a-half years until December 7, 2016, when this

 Court denied the Motions to Compel Arbitration, lifted the stay, and ordered the parties to

 proceed with litigation. Dkt. No. 63. On August 1, 2017, Archer filed the Amended Complaint,

 adding Cartel Members Patterson and Benco as defendants. Dkt. No. 171. All defendants moved

 to dismiss, but those motions were mooted by Archer’s filing of a Second Amended Complaint

 on October 30, 2017. Dkt. No. 261. Schein has now re-moved to dismiss the claim against it,

 asserting that the Second Amended Complaint insufficiently alleges an antitrust conspiracy and

 also suggesting that Archer lacks standing to bring its claims. Dkt. No. 288. The motion should

 be denied.

                                           ARGUMENT

        “In the Fifth Circuit, motions to dismiss under Rule 12(b)(6) are viewed with disfavor

 and rarely granted.” OLA, LLC v. Builder Homesite, Inc., 661 F. Supp. 2d 668, 672 (E.D. Tex.

 2009) (citing Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009)). A complaint

 need only set forth “a short and plain statement of the claim showing that the pleader is entitled

 to relief[.]” F ED . R. C IV . P. 8(a)(2). On a 12(b)(6) motion, a court must accept all allegations

 in the complaint as true and construe the complaint liberally in the plaintiff’s favor. American

 Airlines, Inc. v. Travelport Ltd., No. 4:11-CV-244-Y, 2012 U.S. Dist. LEXIS 126934, at *9

 (N.D. Tex. Aug. 7, 2012) (citing Kaiser Aluminum & Chem. Sales, Inc. v. Avondale Shipyards,

 Inc., 677 F.2d 1045, 1050 (5th Cir. 1982)). To survive a motion to dismiss, “a complaint must

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 contain sufficient factual matter, accepted as true, to state a claim for relief that is plausible on its

 face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation and internal quotation marks

 omitted). This plausibility standard “does not impose a probability requirement at the pleading

 stage; it simply calls for enough facts to raise a reasonable expectation” of a right to relief.

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

 I.      THE SECOND AMENDED COMPLAINT SUFFICIENTLY ALLEGES
         SCHEIN’S AGREEMENT TO PARTICIPATE IN AN ANTITRUST
         CONSPIRACY.

         Schein argues that the Second Amended Complaint fails to allege facts necessary to

 establish an antitrust conspiracy among Defendants. According to Schein, the Second Amended

 Complaint alleges nothing more than a series of independent parallel complaints by the Cartel

 Members in response to Archer’s “below-market pricing” followed by the Danaher Defendants’

 unilateral reaction to those complaints. Schein Br. 17-22. Schein’s arguments ignore the

 Second Amended Complaint’s conspiracy allegations, including admissions by conspiracy

 members, and distort the legal standard for pleading a conspiracy.

         The existence of a conspiracy can be shown through either direct or circumstantial

 evidence. Where concerted action can be shown through direct evidence, such as statements or

 admissions by the conspiracy participants, “it is not required to provide circumstantial evidence

 . . . from which a concerted refusal to deal can be inferred.” Tunica, 496 F.3d at 411. In the

 absence of direct evidence, conspiracies can be “proven through inferences that may fairly be

 drawn from the behavior of the alleged conspirators.” Anderson News, L.L.C. v. Am. Media, Inc.,

 680 F.3d 162, 184 (2d Cir. 2012) (internal quotation marks and citation omitted). Allegations of

 parallel conduct accompanied by circumstantial evidence of a conspiracy are sufficient to survive

 a motion to dismiss. Twombly, 550 U.S. at 557 (Section 1 claim may be pled with allegations of



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 parallel conduct placed in a context suggesting an agreement); see also Evergreen Partnering

 Group, Inc. v. Pactiv Corp., 720 F.3d 33, 46 (1st Cir. 2013).

        In considering whether Archer’s allegations create an inference of conspiracy, the Second

 Amended Complaint is not to be deconstructed into its component parts, but must be viewed as a

 whole. Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962);

 Universal Hosp. Servs., Inc. v. Hill-Rom Holdings, Inc., No. SA-15-CA-32-FB, 2015 U.S.

 Dist. LEXIS 154154, at *15-16 (W.D. Tex. Oct. 15, 2015) (quoting Continental Ore). Moreover,

 at the pleading stage, “the plaintiff need not show that its allegations suggesting an agreement are

 more likely than not true or that they rule out the possibility of independent action, as would be

 required at later litigation stages such as a defense motion for summary judgment, or a trial.”

 Anderson, 680 F.3d at 184 (citations omitted); see also Watson Carpet & Floor Covering,

 Inc. v. Mohawk Indus., Inc., 648 F.3d 452, 458 (6th Cir. 2011) (“Often, defendants’ conduct has

 several plausible explanations. Ferreting out the most likely reason for the defendants’ actions

 is not appropriate at the pleadings stage.”).

        A.      The Group Boycott and Price-Fixing Are Part of a Single Overarching
                Conspiracy to Eliminate Competition and Raise Prices Above Competitive
                Levels

        Schein opens its argument with several pages essentially arguing that Archer does not

 have standing to assert a margin-fixing claim, but in doing so, Schein—like Benco and Patterson

 before it—takes aim at a strawman that it admits is not part of the case. To be sure, to maintain a

 private antitrust claim under Clayton Act § 4, the plaintiff must allege “antitrust injury”—i.e.,

 “injury of the type the antitrust laws were intended to prevent and that flows from that which

 makes the defendant’s acts unlawful.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.

 477, 489 (1977). Archer’s Second Amended Complaint does just that. The Second Amended

 Complaint contains a single Sherman Act Section 1 claim (and corresponding TFEAA claim)

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 against Defendants for engaging in a scheme to eliminate competition in the distribution of

 dental equipment and supplies by boycotting Archer and other discounters who threaten the

 Defendants’ high margins.3 The conspiracy injured Archer by blocking its access to dental

 equipment and supplies, thus preventing Archer from competing with the Cartel Members.

 Compl. ¶ 1. Courts consistently hold that firms that allege injury from conduct that inhibited

 them from competing, such as a group boycott, have antitrust standing. See Palmyra Park Hosp.,

 Inc. v. Phoebe Putney Mem’l Hosp., 604 F.3d 1291, 1303 (11th Cir. 2010) (competitor had

 standing to challenge conduct that prevented it from competing as it had previously); Omni

 Healthcare, Inc. v. Health First, Inc., No. 6:13-cv-1509-Orl-37DAB, 2015 WL 275806, at *5, 10

 (M.D. Fla. Jan. 22, 2015) (plaintiff had standing to challenge exclusionary conduct that included

 group boycott).

        Schein’s fundamental error is impermissibly breaking the alleged conspiracy into pieces.

 Archer does not allege an independent price-fixing conspiracy; rather, Archer’s allegations of the

 Cartel Members’ efforts to maintain elevated margins give its group-boycott claim relevant

 context.4 Archer alleges that it was the margin-fixing agreement that motivated the Defendants to


 3
   The boycott allegations distinguish this case from others in which plaintiffs lacked antitrust
 standing. Rockbit Industries U.S.A. Inc. v. Baker Hughes, Inc., held that a competitor could not
 recover damages for a standalone price-fixing claim. See 802 F. Supp. 1544, 1548 (S.D. Tex.
 1991). The complaint in Dentsply International Inc. v. Dental Brands for Less LLC, 2016 U.S.
 Dist. LEXIS 149139 (S.D.N.Y. Oct. 27, 2016), similarly lacked any boycotting allegations.
 Unlike the plaintiffs in those cases, Archer seeks damages flowing from its exclusion from the
 business of selling dental equipment as a result of Defendants’ per se illegal group boycott.
 4
   In truth, Archer could succeed on its boycotting claim even if it failed to prove a margin-fixing
 agreement. Though the Cartel Members’ coordinated efforts to maintain supracompetitive
 margins provide a motive for the boycott, price evidence is relevant “solely for the purpose of
 showing the dealers’ state of mind, rather than [to] prove the existence of actual price-cutting by
 the discounters.” United States v. General Motors Corp., 384 U.S. 127, 147 n.22 (1966). So long
 as the Cartel Members thought that low-margin distributors like Archer were a threat to their
 margins (fixed and supracompetitive or not), the same motive remains. The Supreme Court
 confronted a similar situation in General Motors, where the defendant was held liable for a group

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 exclude Archer as a competitor for the distribution of dental equipment and supplies. See, e.g.,

 Compl. ¶ 1 (alleging that Archer’s “termination was an illegal boycott, the purpose of which was

 to allow the Cartel Members to maintain and perpetuate their margin-fixing conspiracy”). Courts

 have recognized that firms may engage in per-se illegal group boycott activity to protect agreed-

 upon, supracompetitive pricing. See F.T.C. v. Superior Court Trial Lawyers Ass’n, 493 U.S. 411,

 422 (1990) (explaining that a horizontal group boycott imposed to constrain supply and force a

 price increase “constituted a classic restraint of trade within the meaning of Section 1 of the

 Sherman Act” (internal quotation marks omitted)); Rossi, 156 F.3d at 472 (price fixers’

 knowledge of the plaintiff being a price-cutting competitor provided “strong evidence of the

 defendants’ motive to conspire ... to prevent him from competing against them”).

        Schein is mistaken in claiming that the price-fixing allegations prove only a profit

 motive, and that a profit-motive proves little. The cases that it cites are irrelevant because in

 those cases the plaintiffs lacked direct evidence of a conspiracy and instead relied solely on

 circumstantial evidence that was found to be legally insufficient. Serfecz v. Jewel Food Stores,

 67 F.3d 591, 599 (7th Cir. 1995) (“When a plaintiff relies on circumstantial evidence, . . . he

 ‘must show that the inference of conspiracy is reasonable in light of the competing inference[] of

 independent action.’” (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

 588 (1986)); In re Baby Food Antitrust Litig., 166 F.3d 112, 137 (3d Cir. 1999) (finding

 evidence of profit motive alone is insufficient to satisfy the “plus factor” requirement where

 there was no direct evidence of a conspiracy). It is understandable that in such cases, profit




 boycott even though there was no allegation (much less proof) of price-fixing. See id. And in
 MM Steel, the Fifth Circuit made no explicit mention of a motive (much less a price-related one)
 in upholding the jury’s verdict.

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 motive alone is not enough to carry the plaintiff’s burden since every business has a profit

 morive.

        But here, the Second Amended Complaint alleges much more than profit motive alone

 and in fact contains extensive direct evidence of an agreement between competitors by Schein’s

 own admissions. The direct evidence includes:5

           •     On May 17, 2008, Schein’s Lowery and Burkhart’s Powers admitted to
                 Dynamic’s Skip Pettus at the Oklahoma Dental Association meeting that the
                 Cartel Members were engaged in a margin-fixing agreement and invited him to
                 join on behalf of Dynamic and Archer. Compl. ¶ 55.

           •     On May 27, 2008, Burkhart’s Powers admitted to Pettus that the Cartel
                 Members have a “trust” relationship pursuant to which they do not compete for
                 each other’s customers and that he wants to be “on the same playing field” with
                 his competitors. Id. ¶¶ 57-59.

           •     On June 2, 2008, Schein’s Lowery remarked to Pettus, that “when everyone
                 plays on the same playing field, it makes things a whole lot easier,” and that
                 Burkhart’s Powers is a “good competitor.” Id. ¶ 60.

           •     At the same meeting, Lowery explained how the Cartel Members want to
                 maintain a certain margin and do not compete against each other for customers.
                 As a result, dentists get products “for the same price no matter who they buy it
                 from.” Id. ¶¶ 35, 61-63.

           •     The Cartel Members will call each other if they feel someone is charging too
                 low a margin. For example, Lowery admitted that he has “no problem” calling
                 Burkhart’s Powers to ask what’s going on with a low quote. Id. ¶ 69.

        In any event, such allegations prove far more than just “motive.” The boycotting

 allegations are an integral part of the Cartel Members’ attempts to elevate margins because, as

 explained in the Second Amended Complaint, boycotts and threats to boycott are how the Cartel


 5
   The above allegations are not mere “cherry-picked” quotations as Schein would have this Court
 believe. Schein Br. 14 n.4. The allegations describe in Schein’s own words a conspiracy to fix
 margins for dental products. Such admissions by a defendant of the existence of the challenged
 conspiracy are more than sufficient to plead a Section 1 claim. Tunica, 496 F.3d at 411
 (conspirators’ statements acknowledging agreement deemed sufficient direct evidence of a
 conspiracy).

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 Members enforce the agreement. Id. ¶ 70. Accordingly, Schein cannot ignore any allegations

 about the Cartel Members’ efforts to maintain supracompetitive margins, as all of the allegations

 form part of a single overarching anticompetitive agreement.

        B.      The Second Amended Complaint Includes Sufficient Allegations That the
                Cartel Members Agreed to Boycott Archer

        Having alleged that Schein participated in the horizontal conspiracy, it is unnecessary to

 allege that the Cartel Members separately agreed to threaten the Danaher Defendants to join the

 conspiracy. “All conspirators are jointly liable for the acts of their co-conspirators.” Beltz Travel

 Serv., Inc. v. Int’l Air Transport Ass’n, 620 F.2d 1360, 1367 (9th Cir. 1980). “No express

 agreement . . . is necessary . . . . It is sufficient if persons, with knowledge that concerted action

 was contemplated and invited, ‘give adherence to and then participate in a scheme.’” Standard

 Oil Co. v. Moore, 251 F.2d 188, 211-12 (9th Cir. 1957) (quoting Fed. Trade Comm’n v. Cement

 Inst., 333 U.S. 683, 716 (1948)). Because the group boycott was undertaken with the express

 purpose of enforcing the margin-fixing agreement between the Cartel Members, Compl. ¶¶ 1,

 70-71, it was part and parcel of the conspiracy in which Schein participated. Schein is therefore

 liable for the boycott, regardless of any independent agreement to engage in a group boycott.

        Nevertheless, the Second Amended Complaint is replete with evidence of the Cartel

 Members’ agreement to boycott Archer. The direct evidence includes, among other things,

 admissions by Schein’s own employee of the agreement to maintain high margins and how

 Schein protected that agreement by enlisting the Danaher Defendants to boycott Archer. See,

 e.g., Compl. ¶ 58 (Burkhart manager explaining the “trust” relationship between Schein and

 Burkhart), ¶ 70 (Schein manager admitting that the Cartel Members have an agreement with

 Danaher to restrict or terminate dealers who refuse to “sell at the same high prices at which” the




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 agreement.6 See Rossi, 156 F.3d at 464 (“[A]ll of this activity was done against the backdrop of

 [the defendants’] dissatisfaction with [plaintiff’s] price-cutting proclivities, and thus an

 inference can be drawn that the conspiracy was at least partially conceived as a price

 restraint.”).

         Schein next tries to claim that this is just an example of a manufacturer regulating its

 distributor network, but it does so only broadly, without pointing to any facts specific to this

 case. Schein Br. 20-22. In truth, the facts show the exact opposite.



                                                 Compl. ¶ 118. Moreover, Schein ignores the

 horizontal component of the group boycott at issue in this case. See Schein Br. 20 (citing cases

 discussing vertical restrictions); Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 761

 (1984) (“A manufacturer of course generally has a right to deal, or refuse to deal, with

 whomever it likes, as long as it does so independently.” (emphasis added)).




                                          Compl. ¶ 94.

         The only independent business justifications that Schein alludes to are pretextual as

 applied here. After casting aspersions on Archer for allegedly failing to “employ personnel to

 6
   The cases Schein cites do not help its argument because none of them involved detailed
 allegations (including direct evidence) of any horizontal agreement like those contained in
 Archer’s Second Amended Complaint. See In re Online Travel Co. (OTC) Hotel Booking
 Antitrust Litig., 997 F. Supp. 2d 526, 537 (N.D. Tex. 2014) (allegation that hotels controlled the
 online prices for rooms insufficient to infer a conspiracy among the hotels); Corr Wireless
 Commc’ns, L.L.C. v. AT&T, Inc., 893 F. Supp. 2d 789, 802-06 (N.D. Miss. 2012) (no facts
 alleged to support conclusory assertion of agreement); Am. Surgical Assistants, Inc. v. Great W.
 Healthcare of Tex., Inc., No. H-09-0646, 2010 U.S. Dist. LEXIS 13573, at *16 (S.D. Tex. Feb.
 17, 2010) (allegation that insurance companies sourced data from a common supplier insufficient
 to show an agreement).

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 service equipment that it sells to customers,” Schein Br. 8, Schein claims that it makes “perfect

 business sense” for a manufacturer to direct sales to “established full-service dealers” rather

 than “a price-cutting dealer” who sells “at a lower price and with no guarantee of follow-on

 service.” Id. at 21. Contrary to Schein’s allegations, Archer provides high-quality, nationwide

 service to its customers through a network of independent service technicians. Compl. ¶ 93. It

 is therefore untrue that Archer’s sales come with “no guarantee of follow-on service.”

 Moreover, Schein’s criticism of Archer’s business model is a pretext; Schein is a 45% owner

 of Darby Dental, an internet-based dental equipment distributor who uses a business model

 similar to Archer’s, including independent service technicians. Id. While Defendants may

 argue that they had independent business reasons for terminating Archer, Archer has plausibly

 alleged that those reasons are pretextual. See MM Steel, 806 F.3d at 845; Rossi, 156 F.3d at

 464 (“Importantly, all of this activity was done against the backdrop of [the conspirators’]

 dissatisfaction with [plaintiff’s] price-cutting proclivities, and thus an inference can be drawn

 that the conspiracy was at least partially conceived as a price restraint.”).

                                          CONCLUSION

        For the foregoing reasons, Schein’s Motion to Dismiss should be denied. In the

 alternative, should the Court find any deficiencies in the Second Amended Complaint, Archer

 should be granted leave to amend.7




 7
   Schein has requested oral argument. Archer believes oral argument is not necessary but stands
 ready to present oral argument if the Court wishes.

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 Dated: December 15, 2017.                MCKOOL SMITH, P.C.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has

 been served on all counsel of record via electronic mail on December 15, 2017.

                                                      /s/ Samuel F. Baxter
                                                      Samuel F. Baxter


              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        The undersigned certifies that the foregoing document is authorized to be filed under seal

 pursuant to the Protective Order entered in this case (Dkt. No. 116).

                                                      /s/ Samuel F. Baxter
                                                      Samuel F. Baxter
